Case: 1:03-cV-?9\417'Document #: 1 Filed:-§§%JS Page 1-0f 10 Page|D #:1

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DEC 3 1 2003 RECE!VED

UNITED sTATEs DIsTRIcT coURT mg
NORTHERN DISTRICT 0F ILLINOIS 1 9 3 3 5553
EASTERN DIVISION MlCHAEL W. DOBB|NS

CLERK, U. S. D|STR|CT COUR'E

n KEmvlu SN`ULL'iGAN»»;:»=

 

 

(Enter above the full name
of the plaintiff or plaintiffs in

this action) - - o 3 C

 

 

 

 

 

vs. Case No:
_1 g _ _{ __ _ (To be supplied by the Clerk of this Court)
shEJ._._E_cToR A"I"Td`iz'i&li§`:‘f` `GEN`ERAL - ,
\: n 7 n '. - ,. ' ._:=`.§..:.._:_._.`.,V`T in ' _rl' nw
YET To BE IDENTIE'IED' mo _A.U.S.A'S` vuqu SHAD

7 LO___B__I IGHTFOOT _AC_CO

    

SPEcIAL AGENT THQMAS_U.IRBHV j 74 n _: `.~
(Enter above the full name of ALL ' \ .r

defendants in this action Do not

use "et al. ")
CHECK ONE ONLY:

 

COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

X‘ COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331(a) U.S. Code_ (federal defendants)

 

OTHER (cite_ Statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING. ” FOLLOW THESE INSTRUCTIONS CAREFULLY.

Revised 4/ 01 1 , \

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C§Se: 1:03-Cv-O?4\17 Document #: 1 Fi|ec_l: 12/30/03 P/ag\e 2 of 10 Page|D #:2

I. Plaintiff(s):

A.
B
C.
D

E.

 

 

Name: KEVIN sNULLIGAN
List all aliases: KEvIN wILLIAMS
Prisoner identification number: 1 0 5 8 7 _4 2 4

 

Place Ofpresentconfinemenf= MIENILARLLEAIENHQRJ:H___
Addr€SSf - M…MM)AB____

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
I.D. number, and current address according_to the above format on a separate sheet of

paper.)

II. Defendant(s): _
(In A below, place the full name of the first defendant in the first blank, his or her official

position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A.

 

D€f@lldalltf .Mmmmn

Title: SELECTIVE ATTORNEY GENERM.

Place of Ernployment: 219 S.DEAR§OBN SI. QHQQ, . IL-L §Q§Qg

Defendant; YET To BE IDENTIFIED
Title: HEAD SUPERVISOR oF THE ALcoHoL ToBAcco FIREARM
PlaceofEmployment: A.T.F. oFF:th-: IN cH:tcAGo, ILLINO;S

Defendant: MATTHEW MccRowL _

TRH; ASSISTANT UNITED STATES ATTORNEY

Pla¢€ Of EmplOYmer=_ZlB_mAnmmn_sL_mmn_,_an_snsng__

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

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page 2 continued

Defendant: MATTHEW MCCROWL

Title=____nss;smnmm_tmmmLsmEs_Ammonw

Place of Employment:

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719 SGUTH nEARBDRN_SI*_EHGD*+ILL_EDED§____

 

Defendant: BRIAN ELLIS

Title’_-_Assi-SM…"

4

 

 

Place of Employment=_ZLS_SQlLTH_JlEARBQRN_SI.._CHGQLJLL_bn_&Qg______
Defendant= LoRI LIGHTEoo-r
Title= ASSISTANT UNITED STATES ATTORNEY

 

Place of Employment:

I_
219 SOUTH DEARBORN ST. CHGO.,ILL 606dg

 

Defendant: THOMAS MURPHY

Title: SPECIAL AGENT

 

Place of Employment:

ALCOHOL TOBACCO OFFICE IN CHICAGO,

ILL

 

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III. Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing an
action in federal court.

A.

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Is there a grievance procedure available at your institution?

YES ( )` NO (X) If there is no grievance procedure, skip to F.
Have you flled a grievance concerning the facts in this complaint?
YES( ) No(') N/A

If your answer is YES:

1. What steps did you take?

 

 

 

 

 

 

\.1£.3.
2. _ What was the result?
N/A
3. If the grievance was not resolved to your satisfaction, did you appeal?

What was the result (if there was no procedure for appeal, so state.)

_NLA

 

 

If your answer is NO, explain why not:

 

 

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E. Is the grievance procedure now completed? YES ( ) NO ( ) /
N A

F. If there is no grievance procedure in the institution, did you complain to

authorities? YES ( ) NO §§)
G. If your answer is YES:

1. What steps did you take?

N/n `

 

 

2. What was the result?
J~T./L `

 

 

H. If your answer is NO, explain why not:

 

 

 

 

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IV. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court (including the Central and Southern Districts of Illinois):

A. Name of case and docket number: N , 1

 

B. Approxirnate date of filing lawsuit: , n , ,

111 n

C. List all plaintiffs (if you had co~plaintiffs), including any aliases: m 5a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

D. List all defendants: N ga
E. Court in which the lawsuit was filed (if federal court, name the district; if state
court, name the county): _, ,_
gl‘lfli
F. Name of judge to whom case was assigned: N/A
G. Basic claim made: j/A
H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
' IS it still pending?): § ,%
H. Approximate date of disposition: N/A

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE
THE ADDITIONAL LAWSU_ITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU_ HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT TH[S SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSJ'LL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED. .

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V. Statement of Claim:

State here as briefly as possible the facts of your case. Describe precisely how each
defendant is involved, Include also the names of other persons involved, dates, and places.
Do not give any legal arguments or cite any cases or statutes. If you intend to allege
a number of related clairns, number and set forth each claim in a separate paragraph. (Use
as much space as you need. Attach extra sheets if necessary.)

ON JULI 26.1QQQ. nw)£g_mg£_mqg_g;m;gp._gp_mg.g_~hLCOHOL-TOBACCO-

FIREARM OFFICE OF CHICAGO¢ ILLINOIS SPECTAL AGENT THOHAS HURPHYnHENT

BEFORE UNITED STATES MAGISTRATE EDWARD BROBERICK WITH AN AFFIDAVIT IN
A SUPPORT OF A SEARCH WARRANT LACKING PROBABLE CAUSE. THE INFORMATION
PROVIDED IN THE AFFIDAVIT WAS UNCREDIBLE, UNRELIABLE, FALSE, STALE AND

UNCORROBORATED- IN WHICH P§RSUADED THE MAGISTRATE TO ISSUE h WARRANT FOR

 

THE PREHISES OF 7630 S.PHILLIPS FIRST FLOOR APARTMENT CHICAGO ILLINOIS.

 

THE AFFIDAVIT DID NOT SUFFICIENTLY ESTABLISH THAT ANY CRIMINAL ACTIVITY HAD

 

OCCURED AT THE TARGETED`PREMISES, OR THAT ANY ILLEGAL DRUG CONTRABAND OR

ANY OTHER WAS PRESENT ON THE TARGETED PREMISES THE DAY THE WARRANT WAS

 

APPLIED FOR. THE WARRANT ON IT'S FACE WAS ABSENT AN ISSUANCE TIME AND
WAS ONLY VALID TO BE EXECUTED IN THE bAYTIME HOURS BETWEEN 6 AM TO 12 PM
UNDER THE AUTHORIZATION OF THE ISSUING MAGISTRATE. THE WARRANT FAILED TO
NAME OR DESCRIBE ANYONE IN PARTICULAR TO BE ARRESTED‘PURSUANT TO THE`

SEARCH. ON JULY 26,1999 AT APPROXIMATELY 7:00 PH SPECIAL AGENT THOHAS

MURPHY OF A.T.F. WITH OTHER LAW ENFORCEMENT EXECUTED THE SEARCH WARRANT

WAY OUTSIDE THE SCOPE OF TIHE AUTHORIZED. MYSELF (THE PLANTIFF) WAS NOT
NAMED OR DESCRIBED BY THE WARRANT, BUT BEING THE ONLY ONE ARRESTED

PURSANT TO THE SEARCH. WHEN 1 WAS NOT FOUND IN ACTUAL JOINT OR CONSTRUCTIVE

 

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POSSESSION OR IN THE VINCINITY OF WHERE_THE_CDNTRABAND_RECO¥ERED~WAS
FOUND; WHEN THERE WAS FOUR OTHER PEOPLE PRESENT INCLUDING THE LEASE

OWNER OF THE APARTMENTa ON JULY 27,1999 IN A CONFERENCE FOR A PLEA f

NEGOTIATION WITH ASSISTANT UNITED STATES ATTORNIES, UNDER THE

AUTHORIZATION OF THE SELECTED UNITED STATES ATTORNEY FOR THE STATE OF

 

ILLINOIS. A.U.S.A'S MATTHEW MCCROWL} BRIAN ELLIS, LORI LIGHTFOOT AND

LAW ENFORCEHENT OF THE C.P.D, A.T.F. WITH DEFENSE ATTORNIES OF MY BEHALF.

LINDA AMDUR, JOHN KLUNK. I SIGNED A PROFFER AGREEHENT THAT ALLOWED ME

 

TO CONFESS HY INVOLVEMENT IN A CRIHINAL MILEAU WITH GERALDO RIVERA,

URIEL REYES, GUILERMO CASILLAS. IN WHICH I COULD NOT BE PROSECUTED

WITH SUCH INFORMATION IN THE GOVERNMENTS CASE IN CHIEF AGAINST ME, UNLESS
I GAVE TESTIMONY THAT WAS CONTRARY TO THE INFORMATION. ON`NOVEMBER 3,1999
A.U.S.A LORI LIGHTFOOT ALONG HITH SPECIAL AGENT THOMAS MURPHY OF THE
A.T.F. WENT BEFORE A GRAND JURY AND USED THE PRIVILEAGED (IMMUNIZED)
TESTIMONY AND GAINED A EEDERAL INDICTMENT AGAINST HYSELF iPLANTIFF),
URIEL REYES, GUILERMO CASILLAS, GERALDO RIVERA WITHOUT MY KNOWLEDGE OR
AUTHORIZAT;ON TO FORMULATE THE FOUNDATION OF THEIR CASE IN CHIEF AGAINST
US ALL; MORE OVER IN OR ABOUT APRIL OF 2000 AUSA MATTHEW HCCROWL,BRIAN
ELLIS,LORI LIGHTFOOT IN THEIR CASE IN CHIEF AGAINST MYSELF FALSEFIED A
LEGAL DOCUMENT`TO PERSUADE UNITED STATES DISTRICT JUDGE HOLDERMAN TO

RULE IN THEIR FAVOR IN SUPPORT OF AN ARGUMENT DENYING ME THE JUSTICE

RELIEF I WAS SEEKING.FUTHERHORE IN OR ABOUT SEPTEMBER OF 2000 THE UNITED

STATES ATTORNEY OFFICE OF NORTHERN DISTRICT,EASTERN DIVISION OF CHGO.,ILL

RELEASED INFORMATION TO THE CHICAGO SUN TIMES WHAT WAS PUBLISHED THAT
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Revised 4/01

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PAGE 7 CONTINUED

THREATENED THE WELL BEING OF MYSELF AND ALL THAT ARE RELATED TO ME.

DUE TO ALL THAT IS MENTIONED IN THIS COMPLAINT I AM

SERVING A "forty five Year Sentence“; BECAUSE OF THISFTHE VIOLATION
I HAVE AND AM SUFFERING.

 

 

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VI. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments

Cite no cases or statutes.

I AM ASKING THE coUR'r To GRANT ME MoNuTARLR.ELr_En__EgR__-ItHE_BHISIEAL

AND EMOTIONAL STRESS THAT I HAVE AND_AM SUFFERING FROM THE DEFENDANTS

THAT THIS COMPLAINT IS FILED AGAINST.

 

 

Revised 4/01

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information
and belief. I understand that if this certification is not correct,
I may be subject to sanctions by the Court.

Signedthis §ciw\ day of §)€_C. ,20 03

 

 

 

 

 

(Print name)

10531 aaa

(I.U D Number)
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(Address)

